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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


    IN RE: SUBPOENA TO NON-PARTY :
    LINDSEY O. GRAHAM in his official :
    capacity as United States Senator, :          CIVIL ACTION NO.
                                       :          1:22-cv-03027-LMM
    In the matter of:                  :
                                       :
    SPECIAL PURPOSE GRAND JURY, :
    FULTON COUNTY SUPERIOR             :
    COURT CASE NO. 2022-EX-            :
    000024.                            :
                                       :


                                     ORDER

        This case comes before the Court on Senator Lindsey Graham’s Emergency

Motion to Stay [29].1 After due consideration, the Court enters the following

Order.

        I.    BACKGROUND

        In this matter, Senator Graham sought to quash a subpoena that was

issued to him as part of the Fulton County Special Purpose Grand Jury’s

investigation into possible attempts to disrupt the lawful administration of

Georgia’s 2020 elections. On August 15, 2022, the Court entered an order

denying Senator Graham’s Expedited Motion to Quash. Dkt. No. [27]. Following



1Senator Graham also filed an Emergency Motion for Hearing [30]. Because the
Court finds that it can resolve the issues presented in Senator Graham’s
Emergency Motion to Stay without a hearing, Senator Graham’s Emergency
Motion for Hearing [30] is DENIED.
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entry of that order, Senator Graham filed an Emergency Motion to Stay wherein

he requests (1) a stay of the Court’s August 15, 2022, order and (2) an order

enjoining the grand jury from acting on Senator Graham’s subpoena before the

conclusion of his appeal. Dkt. Nos. [29, 29-1].

      II.    DISCUSSION

      Under the “traditional standard for a stay,” the Court considers four

factors:

      (1) whether the stay applicant has made a strong showing that he is
      likely to succeed on the merits; (2) whether the applicant will be
      irreparably injured absent a stay; (3) whether issuance of the stay will
      substantially injure the other parties interested in the proceeding; and
      (4) where the public interest lies.

League of Women Voters of Fla., Inc. v. Fla. Sec’y of State, 32 F.4th 1363, 1370

(11th Cir. 2022) (quotation marks omitted) (quoting Nken v. Holder, 556 U.S.

418, 425–26 (2009)). These factors overlap substantially with the factors relevant

to obtaining a preliminary injunction. See, e.g., Four Seasons Hotels & Resorts,

B.V. v. Consorcio Barr, S.A., 320 F.3d 1205, 1210 (11th Cir. 2003) (listing

preliminary injunction factors); see also Nken, 556 U.S at 434 (“There is

substantial overlap between [the stay factors] and the factors governing

preliminary injunctions, not because the two are one and the same, but because

similar concerns arise whenever a court order may allow or disallow anticipated

action before the legality of that action has been conclusively determined.”

(internal citation omitted)). “The first two factors are the ‘most critical.’” Hand v.

Scott, 888 F.3d 1206, 1207 (11th Cir. 2018) (quoting Nken, 556 U.S. at 434). With


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regard to the first factor, “in some circumstances—namely, ‘when the balance of

equities weighs heavily in favor of granting the stay’—[the Eleventh Circuit]

relax[es] the likely-to-succeed-on-the-merits requirement[,]” and a stay “may be

granted upon a lesser showing of a ‘substantial case on the merits.’” League of

Women Voters, 32 F.4th at 1370 (ellipsis omitted) (quoting Garcia-Mir v. Meese,

781 F.2d 1450, 1453 (11th Cir. 1986)).

      As the Supreme Court has explained, “[a] stay is not a matter of

right[] . . . .” Nken, 556 U.S. at 433. Instead, a stay is “an exercise of judicial

discretion, and the propriety of its issue is dependent upon the circumstances of

the particular case.” Id. Accordingly, “[t]he party requesting the stay bears the

burden of showing that the circumstances justify an exercise of that discretion.”

Id. As discussed below, Senator Graham has failed to carry that burden.

             1. Likelihood of Success on the Merits

      The first factor is “whether the stay applicant has made a strong showing

that he is likely to succeed on the merits.” League of Women Voters, 32 F.4th at

1370. Senator Graham raises a number of arguments as to why he is likely to

succeed on the merits, but they are all unpersuasive, not least because they

largely misconstrue the Court’s holdings.

      First, Senator Graham argues that he is likely to succeed on the merits

because probing into the motives of legislative acts is unequivocally forbidden

under the Speech or Debate Clause. Dkt. No. [29-1] at 9–14. Senator Graham

maintains that the calls themselves constitute legitimate legislative activity in


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their entirety, and he argues that the Court erred by “injecting” considerations of

motive into its Speech or Debate analysis about the calls. Id.

      As an initial matter, the Court’s holding regarding the calls themselves, as

well as what inquiries may be proper as to those calls, was an alternative basis for

denying Senator Graham’s requested relief. As was clear from the order, and as is

discussed more fully below, Senator Graham requested that the subpoena be

quashed in its entirety, and the Court denied this request first and primarily

because there are multiple topics upon which Senator Graham could face

questioning that in no way implicate protected legislative activity under the

Speech or Debate Clause.

      As the Court already explained, Senator Graham can be questioned on all

activities that fall within the parameters of the grand jury’s investigation and

which are “political in nature rather than legislative,” including (1) Senator

Graham’s alleged coordination with the Trump Campaign or other third parties

regarding post-election efforts in Georgia; (2) attempts to “cajole” or “exhort”

Georgia election officials to change their election processes or results; and (3)

public statements or speeches he made outside of Congress about the 2020

elections. And so, because there are topics upon which Senator Graham could be

questioned that fall outside the protections of the Speech or Debate Clause, his

request to quash the subpoena in its entirety under the Clause necessarily failed.

Senator Graham presents no persuasive argument as to why this holding raises a

“substantial case on the merits” given how clearly the Supreme Court has stated


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that actions which are fundamentally political in nature—such as giving speeches

outside of Congress or “cajoling” or “exhorting” officials from different branches

of government to take certain actions—are not protected by the Speech or Debate

Clause.

      Furthermore, and contrary to Senator Graham’s suggestions in his Motion

to Stay, this Court never held or otherwise suggested that courts (or the grand

jury) may probe into the motivation for legislative acts. That proposition is

foreclosed by Supreme Court precedent. Instead, the Court found that, at this

stage and based on the current record, it could not simply accept Senator

Graham’s conclusory characterizations of these phone calls as only containing

legitimate legislative factfinding inquiries and thereby ignore (and indeed reject)

the fact that the substance of these calls has been a source of public dispute and

disagreement by some of the calls’ other participants. To this end, the Court

observed that Senator Graham may be asked targeted questions on topics that in

no way implicate legitimate legislative activity (such as attempts to “cajole” or

“exhort” Georgia election officials to take certain actions relative to the state’s

voting and election practices) so as to probe whether—as Senator Graham

suggests—the calls were, in fact, comprised entirely of legislative activity or

instead (and as some other individuals who were on the calls have suggested)

included at least some lines of inquiry that clearly fall outside the scope of the

Speech or Debate Clause’s protections. Senator Graham’s arguments ignore the

idea that more than one subject may have been discussed on the calls. To the


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extent some parts of the calls do fall outside the sphere of protected legislative

activity, the Supreme Court’s analysis in United States v. Helstoski, 442 U.S. 477,

488 n.7 (1979), suggests that the grand jury could properly probe into these

issues specifically while avoiding or “excising” any legitimate legislative activities

from its questioning. The Court finds no basis for concluding that its holdings as

to these issues are likely to be reversed on the merits. Holding otherwise would

allow any sitting senator to shield all manner of potential criminal conduct

occurring during a phone call merely by asserting the purpose of the call was

legislative fact-finding—no matter whether the call subsequently took a different

turn.

        Second, Senator Graham argues that the Court’s central holding—which, as

just discussed, is that even assuming Senator Graham is correct that any

questioning about the phone calls is barred under the Speech or Debate Clause,

his request to quash the subpoena in its entirety still failed because there are

multiple other areas of potential questioning and testimony that do not implicate

“legislative activity” as that term has been defined by numerous Supreme Court

decisions—is likely to be reversed by the Eleventh Circuit. Dkt. No. [29-1] at 14–

17.

        Here again, and as discussed above, Senator Graham’s arguments are

entirely unpersuasive, and they do not even demonstrate a “substantial case on

the merits.” As an initial matter, Senator Graham takes issue with the Court’s

recognition that his sole request—to quash the subpoena in its entirety—was built


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largely (if not entirely) on the premise that Senator Graham will only be

questioned about the phone calls, which Senator Graham characterizes as

legitimate legislative factfinding exercises and thus completely protected by the

Speech or Debate Clause. Dkt. No. [29-1] at 15. Instead, Senator Graham

maintains that he believes that the “other topics” will simply be used as a

“backdoor” for questioning him about the phone calls. Id.

      The problem for Senator Graham is that the record thoroughly contradicts

his suggestion that the District Attorney and grand jury simply wish to use

questions on other topics as a “backdoor” to asking him about the legislative fact-

finding on the phone calls. Over and again, the District Attorney has

demonstrated an intention to question Senator Graham on issues that are not

related to the phone calls themselves and—even more importantly—are not

related to legitimate legislative activity as defined by the Supreme Court. By way

of example: (1) the Certificate of Material Witness itself states that Senator

Graham “possesses unique knowledge concerning . . . the Trump Campaign, and

other known and unknown individuals involved in the multi-state, coordinated

efforts to influence the results of the November 2020 election in Georgia and

elsewhere” and that Senator Graham’s testimony “is likely to reveal additional

sources of information regarding the subject of [the Special Purpose Grand Jury]

investigation[,]” see Dkt. No. [1-2] at 3–4; (2) in relevant part, the District

Attorney argued in her Response that the grand jury is “entitled to hear [Senator

Graham’s] sworn testimony about, inter alia, the circumstances leading to his


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telephone calls to Raffensperger, what [Senator Graham] sought and obtained

from the conversation, and any coordination either before or after the calls with

the Trump campaign’s post-election efforts in Georgia[,]” see Dkt. No. [9] at 10–

11 (emphasis added); and (3) the District Attorney stated at the hearing that,

while the Certificate of Material Witness discusses the calls in relevant part, there

are several other topics on which Senator Graham has personal knowledge that

fall squarely within the purview of the grand jury’s investigation and upon which

Senator Graham could therefore be questioned.

      In short, the record belies Senator Graham’s suggestion that these separate

topics of inquiry will simply be used as a “backdoor” for questioning Senator

Graham about the phone calls. Senator Graham’s insistent repetition of this

argument does not make it true. It therefore bears repeating that, even assuming

Senator Graham is correct in all of his contentions as to the application of the

Speech or Debate Clause to the calls themselves, his requested relief—quashing

the subpoena in its entirety—would still have to be denied because the record

shows that there are multiple areas of proper inquiry that in no way implicate

protected legislative activity as that term has been defined and clarified by

numerous Supreme Court decisions interpreting the Speech or Debate Clause.

      Third, Senator Graham suggests that he is likely to succeed on the merits,

and that the Eleventh Circuit is likely to reverse this Court, because the Court did

not partially quash or modify the subpoena. Dkt. No. [29-1] at 17–20. On this

point, Senator Graham appears to believe that the Court simply did not realize


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that, under Federal Rule of Civil Procedure 45(d)(3), it could enter an order

partially quashing the subpoena or otherwise modifying it. But that misinterprets

the Court’s order. The problem with Senator Graham’s argument on this issue is

that he requested this relief for the first time at the hearing and then again in his

supplemental brief—a development that meant that the parties never fully briefed

this issue nor presented the Court with any detailed indication of what such a

request for partial relief or modification would entail.

      In other words, Senator Graham merely stating at the hearing that he

wished in the alternative for the Court to partially quash the subpoena as it saw

fit is not the same as properly presenting that issue to the Court and providing

detailed argument from which the Court could shape appropriate relief. It is of

course axiomatic that courts will not—and indeed cannot—make arguments for

either party. If Senator Graham wanted the Court to rule as to each and every

question he might be asked, he had to brief that issue. This would require

identifying the questions and then explaining specifically why each question

would be off limits. It is not for the Court to try and think up all the different

issues that might be raised and then rule on them without the parties having an

opportunity to address them.

      Fourth, Senator Graham argues that he is likely to succeed on the merits of

his sovereign immunity argument. Dkt. No. [29-1] at 20–22. As evidenced by the

Court’s earlier order, the Court finds no support for Senator Graham’s position in

either persuasive or binding authority. This argument is bereft of any meaningful


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support and, in this Court’s estimation, presents neither an issue that is likely to

succeed on the merits nor one that is a “substantial case on the merits.”

      As indicated above, the Court is not persuaded that Senator Graham is

likely to succeed on the merits of his arguments or that he has shown a

substantial case on the merits. Even if he had shown a substantial case on the

merits, that exception comes with a significant caveat: in order to rely on a

showing of a “substantial case on the merits,” the balance of the equities must

“weigh[] heavily in favor of granting the stay[.]” League of Women Voters, 32

F.4th at 1370. In determining the balance of the equities, the Court considers the

second, third, and fourth factors. Garcia-Mir, 781 F.2d at 1453. As discussed

below, the Court does not find that the equities weigh so heavily in Senator

Graham’s favor as to justify the granting of a stay based only on a showing of a

“substantial case on the merits” even if such a showing had been made.

             2. Irreparable Injury

      The second factor is “whether the applicant will be irreparably injured

absent a stay[.]” League of Women Voters, 32 F.4th at 1370. Senator Graham

argues that he will suffer irreparable harm if the Court does not grant his request

for a stay because two immunities—immunity under the Speech or Debate Clause

from being “questioned in any other Place[,]” as well as sovereign immunity—will

both be violated if he must appear for questioning before the grand jury. Dkt. No.

[29-1] at 22–24.




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      The Court acknowledges that if Senator Graham is correct on the merits of

his Speech or Debate Clause contentions as he has framed them—that is, that all

subjects relating to his conduct regarding Georgia’s 2020 elections, even press

interviews, should presumably be categorized as legislative and therefore

shielded—he would suffer irreparable harm because the Speech or Debate Clause

entitles members of Congress to be free from being “questioned in any other

Place[]” regarding their legitimate legislative acts. U.S. Const. art. I, § 6, cl. 1.

Similarly, the Court acknowledges that if it is ultimately determined that Senator

Graham is in fact entitled to the novel and sweeping formulation of sovereign

immunity he has proposed in this case, he would likewise suffer irreparable harm

by being subjected to questioning before the grand jury. Be that as it may, the

Supreme Court has stated that “[a] stay is not a matter of right, even if

irreparable injury might otherwise result.” Nken, 556 U.S. at 433.

             3. Injury to the Other Party

      The third factor is “whether issuance of the stay will substantially injure

the other parties interested in the proceeding[.]” League of Women Voters, 32

F.4th at 1370. Senator Graham argues that the grand jury will not suffer any

injury if the Court grants a stay pending appeal because (1) the subpoena at issue

pertains only to him, so the grand jury’s investigation can continue without his

immediate testimony; and (2) he will seek to expedite his appeal and thus the

grand jury will still have time for his testimony on any topics the Eleventh Circuit

determines are permissible. Dkt. No. [29-1] at 25.


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      The District Attorney argues that a stay would result in substantial injury

to the grand jury. Dkt. No. [36] at 6–7. In essence, the District Attorney argues

that Senator Graham’s testimony is sought not only because he possesses

necessary and material information in his own right, but also because he is

expected to testify as to other sources of information relevant to the grand jury’s

investigation. Id. To this end, the District Attorney notes that the grand jury has

been attempting to secure Senator Graham’s appearance since July 5, 2022, and

that a stay will add to the significant delay that has already occurred, even

assuming an expedited appeal. Id. The District Attorney argues that additional

delays that would result from a stay will harm the grand jury’s full investigation

because such a delay not only affects Senator Graham but also delays revelation

of new categories of information and witnesses, thereby compounding the total

delay and hampering the grand jury as it attempts to carry out its investigation

expeditiously. Id.

      The Court agrees with the District Attorney on this issue. As reflected in

both the Certificate of Material Witness and in the District Attorney’s arguments

before this Court, it is expected that Senator Graham possesses necessary and

material knowledge of additional sources of information that are relevant to the

grand jury’s investigation. Under the circumstances, further delay of Senator

Graham’s testimony would greatly compound the overall delay in carrying out the

grand jury’s investigation. Further delay thus poses a significant risk of overall

hindrance to the grand jury’s investigation, and the Court therefore finds that


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granting a stay would almost certainly result in material injury to the grand jury

and its investigation. Accordingly, this factor weighs against Senator Graham and

in favor of the grand jury.

             4. The Public Interest

      The final factor requires consideration of “where the public interest lies.”

League of Women Voters, 32 F.4th at 1370 (quotation mark omitted). Senator

Graham argues that granting a stay and maintaining the status quo serves the

public interest because he seeks to vindicate two constitutional immunity

doctrines that are important to the separation of powers and federalism. Dkt. No.

[29-1] at 25–26. He also suggests that the issues in his appeal will serve “the

People[] more generally” because their elected officials will be able to carry out

investigations relevant to legislation without fear of reprisal or interference. Id.

In response, the District Attorney argues that the public interest is served by

allowing Senator Graham’s appearance to proceed, thereby ensuring that the

grand jury’s investigation may proceed efficiently. Dkt. No. [36] at 7–8.

      The Court finds that, under the unique facts of this case, the public interest

would not be served by granting a stay. As has been discussed at length, the grand

jury has been impaneled to investigate potential attempts to disrupt the lawful

administration of Georgia’s 2020 elections. In this context, the public interest is

well-served when a lawful investigation aimed at uncovering the facts and

circumstances of alleged attempts to disrupt or influence Georgia’s elections is

allowed to proceed without unnecessary encumbrances. Indeed, it is important


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that citizens maintain faith that there are mechanisms in place for investigating

any such attempts to disrupt elections and, if necessary, to prosecute these crimes

which, by their very nature, strike at the heart of a democratic system.

Furthermore, given that this case, at minimum, involves areas of inquiry that

clearly fall outside the scope of the Speech or Debate Clause, the Court finds that

it also serves the public interest for the Supreme Court’s understanding of the

Clause’s purpose and limitations to be vindicated: “Admittedly, the Speech or

Debate Clause must be read broadly to effectuate its purpose of protecting the

independence of the Legislative Branch, but no more than the statutes we apply,

was its purpose to make Members of Congress super-citizens[] . . . .” United

States v. Brewster, 408 U.S. 501, 516 (1972). Thus, under the circumstances of

this case, the Court finds that granting a stay would not serve the public interest.

This factor therefore weighs against Senator Graham.

             5. Weighing of Factors

      After reviewing the relevant factors, the Court finds that the only factor

that arguably weighs in Senator Graham’s favor is the second. Both the third and

fourth factors weigh against the granting of a stay under the unique

circumstances of this case. As for the first factor, the Court is not persuaded that

Senator Graham has shown a likelihood of success on the merits. Therefore,

because the balance of the equities reflected in the second, third, and fourth

factors do not “weigh[] heavily in favor of granting the stay[,]” a stay is not

justified even assuming for the sake of argument that Senator Graham has shown


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“a substantial case on the merits.” Garcia-Mir, 781 F.2d at 1453 (emphasis

added). Accordingly, Senator Graham’s request for an order staying the Court’s

August 15, 2022 order and enjoining the Special Purpose Grand Jury from acting

on the subpoena is DENIED.

      III.   CONCLUSION

      In accordance with the foregoing, Senator Lindsey Graham’s Emergency

Motion to Stay [29] is DENIED. Senator Graham’s Emergency Motion for

Hearing [30] is likewise DENIED.



      IT IS SO ORDERED this 19th day of August, 2022.


                                     _____________________________
                                     Leigh Martin May
                                     United States District Judge




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